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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                     ASHLAND

CRIMINAL ACTION NO. 15-15-DLB-EBA

UNITED STATES OF AMERICA                                                  PLAINTIFF


v.                                             ORDER


RICHARD E. PAULUS, M.D.                                                  DEFENDANT

                                       *** *** *** ***

       This matter is before the Court upon King’s Daughters Health Systems, Inc.’s Motion to

Stay Order Compelling KDMC to Produce Documents Pending Resolution of KDMC’s Petition

for a Writ of Mandamus [Docket No. 466]. Neither party has responded to the motion and the

time for doing so, as set forth in LCrR 47.1(d), has expired.

       Accordingly, IT IS HEREBTY ORDERED:

       (1) King’s Daughters Health Systems, Inc.’s Motion to Stay Order Compelling KDMC to

           Produce Documents Pending Resolution of KDMC’s Petition for a Writ of Mandamus

           [Docket No. 466] be SUSTAINED; and

       (2) The deadlines set forth in this Court’s Order of January 18, 2022 [Docket No. 464] are

           STAYED pending further Orders of this Court.

       This 14th day of February 2022.
